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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                              9/13/2022
 Willet Davidson,

                                  Plaintiff,
                                                               1:20-cv-09500 (LGS) (SDA)
                -against-
                                                               ORDER
 Department of Corrections et al.,

                                  Defendants.


STEWART D. AARON, United States Magistrate Judge:

       The Court is in receipt of Plaintiff’s September 2, 2022 Letter (filed on the docket on

September 12, 2022) asking the Court to direct Defendants to file their motion for summary

judgment. (Pl.’s 9/12/2022 Letter, ECF No. 65.) Defendants’ summary judgment motion was

timely filed on April 14, 2022 and served on Plaintiff at his current address. (See Defs.’ Notice of

Motion, ECF No. 55; Cert. of Service, ECF No. 62.) Plaintiff was to file his opposition to Defendants’

motion for summary judgment by May 16, 2022. (See 3/31/2022 Order, ECF No. 54 (granting

extension of time and setting revised briefing schedule).)

       After not receiving any opposition from Plaintiff, I entered an Order on June 3, 2022,

extending Plaintiff’s time to oppose the motion and informing Plaintiff that failure to do so would

result in the Court’s consideration of Defendants’ motion papers only. (6/3/2022 Order, ECF No.

64.) The June 3, 2022 Order was mailed to Plaintiff by the Clerk of Court. (See 6/6/2022 Docket

Text Entry.) That Order was not returned as undeliverable. Regardless, because it appears that

Plaintiff may not have received Defendants’ motion for summary judgment, it is hereby Ordered

that Defendants shall re-serve Plaintiff with their motion papers no later than September 16,

2022. Plaintiff shall file his opposition to Defendants’ motion for summary judgment (or a letter
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indicating that he does not intend to file any opposition) no later than October 7, 2022. Failure

to do so will result in the Court deciding the motion on Defendants’ motion papers only. If Plaintiff

files an opposition, Defendants shall file any reply no later than October 14, 2022.

SO ORDERED.

Dated:         New York, New York
               September 13, 2022

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                                                      STEWART D. AARON
                                                      United States Magistrate Judge




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